
665 S.E.2d 738 (2008)
In the Matter of C.M.W.
appealed by State.
No. 239P08.
Supreme Court of North Carolina.
August 26, 2008.
Robert C. Montgomery, Special Deputy Attorney General, for State of NC.
Richard Croutharmel, for Juvenile.

ORDER
Upon consideration of the petition filed by State of NC on the 27th day of May 2008 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
Upon consideration of the petition filed on the 27th day of May 2008 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
